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Client: Private                                                                                              File No.: 170202-7
Property Address:                                                                                            Case No.:
City: West Palm Beach                                                                            State: FL                     Zip: 33401




   Purpose and Intended Use of the Appraisal
   Thepurpose of this appraisal is to estimate the market value of the subject property as of the effective date of the appraisal.

   Site Comments
   Since Flood maps published by the National Flood Insurance Program are vague and poorly defined in some areas, the appraiser has used
   his best judgement as to the subject property, both by visual inspection and plotting on the map. Intheabsence of a survey, the appraiser
   assumes no responsibility for the flood zone classification.

   Comments on the Sales Comparison Approach
   In order to estimate the value of the subject property the Sales Comparison Approach, several comparables sales were gathered verified,
   inspected and analyzed. The three most simla and comparables were utilized have similar characteristics were analyzed. Adjustments made
   are estimated from the market data which is retained in our records data base.


   Interior Inspection
   This appraisal is not a home inspection and the appraiser is not acting as a home inspector when preparing the report. The borrower has
   the right to have the home inspected by a professional home inspector. When performing the inspection of this property, the appraiser
   visually observed areas that were readily accessible. The appraiser is not required to disturb or move anything that obstructs access or
   visibility. When completing the appraisal, a visual inspection was done in accordance with USPAP and/or FHA/HUD guidelines. The
   inspection is not technically exhaustive. The inspection does not offer warranties or guarantees of any kind.

   Digital Photographs Comment
   All digital photographs utilized in this appraisal report have not been altered in any way.




                                                                      Addendum Page 1 of 1




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